Case 2:O2-cr-20262-.]P|\/| Document 229 Filed 05/06/05 Page 1 of 2 Page|D 210

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

v. Cr. No. 02-20262 Ml

WILLIAM HARRIS,

Defendant.

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ORDER DENYING MOTION TO WITHDRAW

 

Before the Court is attorney Robert C. Brooks's Motion to
Withdraw, filed May 4, 2005. It appears that, as a matter of
policy, this issue has been resolved in the case of USA v. Sharn
Raynard Milan, Criminal Case No. 01-10031 T/An, and, thereforer

the motion should be denied.

:T J:s so oRDERED THIs 3 DAY oF May, 2005.

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J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

